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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

   IN RE:                                                )        CHAPTER 13
                                                         )
   MARCO PRYOR                                           )        CASE NO. 16-64946-PMB
                              DEBTOR.                    )
   ---------------------------------------------------------------------------------------------------
                                                         )
   MARCO PRYOR                                           )
                              MOVANT,                    )
                                                         )        CONTESTED MATTER
   V.                                                    )
                                                         )
   HARLEY-DAVIDSON CREDIT CORP                           )
   MELISSA J. DAVEY, TRUSTEE                             )
                              RESPONDENTS.               )
   ____________________________________)

    RESPONSE TO MOVANT’S MOTION TO IMPOSE THE AUTOMATIC STAY

            COMES NOW, Harley-Davidson Credit Corp., a secured creditor in the above-

   captioned case and, by and through counsel, files this Response to Movant’s Motion to

   Impose the Automatic Stay and respectfully shows the Court as follows:

            1.       On August 27, 2016, Debtor filed a petition with the Bankruptcy Court for

   the Northern District of Georgia under Chapter of 13 of Title 11 of the United States

   Bankruptcy Code.

            2.       Movant holds a valid lien secured by the Retail Installment Contract

   (“Contract”) which describes the collateral known as: 2015 HARLEY-DAVIDSON

   FLTRXS ROAD GLIDE SPECIAL VIN: 1HD1KTM14FB640825 (“Collateral”).

            3.       On November 15, 2017, Respondent filed a Motion for Relief from Stay

   (Doc. No. 24) (“Motion”) seeking relief from stay as to the Collateral due to a

   delinquency in Debtor’s Chapter 13 Plan Payments.
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             4.   On January 25, 2018, an Order was entered (Doc. No. 29) (“Order”)

   granting Respondent stay relief as to the Collateral.

             5.   On April 19, 2018, Movant filed a Motion to Reimpose the Stay as to

   Respondent.

             6.   Imposition of the stay over (2) two months after entry of the Order is not a

   reasonable time in which to seek to overturn a final order from this Court and imposition

   of the stay would create an undue hardship on Respondent.

             7.   Movant has failed to state any justifiable grounds for relief from a final

   order.

                  WHEREFORE, Movant prays the Court as follows:

             1.   Movant’s motion be denied; and,

             2.   Grant Movant such other and further relief as the Court deems just and

   proper.

                                                       The Chad R. Simon Law Firm

                                                           /s/Chad R. Simon
                                                           Chad R. Simon
                                                           Georgia Bar No. 646919
                                                           The Chad R. Simon Law Firm
                                                           Post Office Box 80727
                                                           Atlanta, GA 30366
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was

   provided via Regular U.S. Mail and/or Electronic Mail to the parties listed on the

   attached service list, this 30th day of May, 2018.


   SERVICE LIST

   Marco Pryor
   6481 Gordon Hill Dr
   Mableton, GA 30126

   Howard P. Slomka
   Slipakoff & Slomka, PC
   Overlook III - Suite 1700
   2859 Paces Ferry Rd, SE
   Atlanta, GA 30339

   Melissa J. Davey
   Melissa J. Davey, Standing Ch 13 Trustee
   Suite 200
   260 Peachtree Street, NW
   Atlanta, GA 30303
                                                        /s/ Chad R. Simon
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